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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                                            CIVIL ACTION
PENNSYLVANIA AND STATE OF NEW
JERSEY,

                      Plaintiffs,
                                                           NO. 17-4540
              v.

JOSEPH R. BIDEN, et al.,

                      Defendants,

LITTLE SISTERS OF THE POOR
SAINTS PETER AND PAUL HOME,

                      Defendant-Intervenor.


                           AMENDED SCHEDULING ORDER

      AND NOW, this 17th day of January, 2025, upon consideration of the Parties’ Joint

Motion to Amend (ECF No. 334), IT IS HEREBY ORDERED as follows:

         1. Plaintiffs shall have until February 25, 2025 to file their Motion for Summary
   Judgment, which shall not exceed 45 pages.

            2. Federal Defendants and Intervenor Defendants shall have until March 28, 2025 to
   file their respective combined Cross-Motions for Summary Judgment and Responses to
   Plaintiff’s Motion. Neither combined brief shall exceed 45 pages.

          3. Plaintiffs shall have until April 22, 2025 to file a combined Response to
   Defendants’ Cross-Motions and Reply in support of their Motion, which shall not exceed 30
   pages.

            4. Federal Defendants and Intervenor Defendants shall have until May 19, 2025 to
   file their respective Replies in Support of their Cross-Motions. Neither Reply shall exceed
   20 pages.

                                                   BY THE COURT:

                                                     /s/WENDY BEETLESONE
                                                   WENDY BEETLESTONE, J.
